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 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
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14
     UNITED STATES OF AMERICA,               CR. NO. 2:07-248   WBS
15
                                             ORDER
                  Plaintiff,
16

17        v.

18   BISMARK MARTIN OCAMPO,

19                Defendant.

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                                  ----oo0oo----
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23             On June 15, 2015, defendant Bismark Martin Ocampo filed

24   a motion for reduction of sentence pursuant to 18 U.S.C.

25   § 3582(c)(2).   (Docket No. 1338.)      The United States shall file

26   an opposition to defendant’s motion no later than July 13, 2015.

27   Defendant may then file a reply no later than July 27, 2015.      The

28   court will then take the motion under submission.
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     Case 2:07-cr-00248-WBS Document 1342 Filed 07/06/15 Page 2 of 2


 1        IT IS SO ORDERED.
 2   Dated:   July 2, 2015
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